
PER CURIAM.
This cause having heretofore been submitted to the Court on petition for writ of certiorari upon the transcript of record and briefs and argument of counsel for the respective parties, to review the order of the Florida Industrial Commission in said cause, bearing date December 30, 1964, and the petitioner having failed to show that the essential requirements of law have been violated, it is ordered that said petition be and the same is hereby denied.
The attorneys for respondent Niccum are awarded a fee in the amount of Three hundred fifty dollars ($350.00) for services in this Court.
It is so ordered.
THOMAS, Acting C. J., and DREW, CALDWELL, ERVIN and HOBSON (Ret.), JJ., concur.
